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                   11                                  UNITED STATES DISTRICT COURT

                   12                             NORTHERN DISTRICT OF CALIFORNIA

                   13                                     SAN FRANCISCO DIVISION
                   14

                   15   AMBER YALE, individually and on behalf of      Case No. 3:20-cv-07575-LB
                        all others similarly situated,
                   16                                                  DEFENDANT CLICKTALE, INC.’S REPLY IN
                                         Plaintiffs,                   SUPPORT OF ITS MOTION TO DISMISS
                   17                                                  PLAINTIFF’S FIRST AMENDED CLASS
                               v.                                      ACTION COMPLAINT
                   18
                        CLICKTALE, INC.,                               Hearing Date: May 13, 2021
                   19                                                  Hearing Time: 9:30 a.m.
                                         Defendant.                    Judge:        Honorable Laurel Beeler
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                    1   I.      INTRODUCTION.
                    2           Plaintiff’s Opposition (“Opposition” or “Opp.”) confirms that a website service provider

                    3   like Clicktale, Inc. (“Clicktale”) cannot and should not be held liable for simply providing a

                    4   software tool used by websites to log user activity to help website operators improve the website

                    5   experience. At bottom, users send this information to websites like Gap and these websites have

                    6   the right to collect it, with or without the help of third-party tools. Plaintiff does not dispute that

                    7   Clicktale collected data solely for Gap, an intended recipient of any of the claimed CIPA user

                    8   communications. Nor does she allege that any of her logged actions were ever sold, disseminated

                    9   to a third party, or used for advertising. (ECF No. 1, ¶ 15.) Also absent is any claim that Clicktale

                   10   caused her any injury whatsoever. These facts do not support a claim for relief, and Plaintiff’s

                   11   Opposition offers no contrary arguments or authorities. Indeed, Plaintiff’s claims are no different

                   12   from those in Graham v. Yale, recently decided by this Court, and should likewise be dismissed.

                   13   Order Granting Defs.’ Mots. to Dismiss, No. 20-6903 (N.D. Cal. Apr. 8, 2021), ECF No. 51.

                   14           Plaintiff’s California Invasion of Privacy Act (“CIPA”) claims ignore the required Ninth

                   15   Circuit “technical context” of her own factual allegations, which establish that Clicktale is exempt

                   16   from liability as a party to any communications. Plaintiff instead seeks to distract the Court by

                   17   suggesting Clicktale should be held liable for aiding and abetting under Section 631 (a claim not

                   18   pled in the First Amended Class Action Complaint (“FAC”)); and wrongly contending her

                   19   pleadings trigger CIPA’s two-party consent requirements. Plaintiff then asks this Court to recognize

                   20   a private right of action under Section 635, when Article III and Section 637.2 do not allow one.

                   21           Plaintiff also fails to show how Clicktale’s code is a device “primarily or exclusively

                   22   designed or intended for eavesdropping,” or how Clicktale’s manufacture, possession, or sale of

                   23   this code caused her injury. Likewise, Plaintiff’s constitutional invasion of privacy claim fails for

                   24   lack of a reasonable expectation that the data she voluntarily and intentionally sent to Gap should

                   25   remain hidden from Gap’s service providers, that the information was “disseminated or misused,”

                   26   or that the alleged use of the data would be highly offensive to a reasonable person. Plaintiff’s

                   27   failure to plead a violation of Section 631 also negates each of her other claims. Id.

                   28           Finally, and contrary to Plaintiff’s claims, opening the litigation floodgates of a century-old
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                    1   law is relevant. Not only because it implicates judicial efficiency, but more importantly because it
                    2   betrays an unreasonable and a historic interpretation of a longstanding statute.1 The recent frenzy
                    3   to litigate similar issues presented here in dozens of cases shows that the thinly-reasoned Revitch
                    4   decision on which Plaintiff premises virtually all of her arguments is an overbroad interpretation of
                    5   CIPA. This Court should again decline Plaintiff’s invitation to further expand CIPA’s scope and
                    6   dismiss her claims. To do otherwise will criminalize not just service providers like Clicktale, but
                    7   also the plethora of other tools that form the backbone of the Internet.
                    8   II.      ARGUMENT.
                    9            A.      All of Plaintiff’s CIPA Claims Fail.
                   10                    1.     Clicktale Cannot Have Violated Section 631 Because It Was a Party to
                                                Any Communication.
                   11

                   12            Clicktale’s Motion demonstrated that it cannot be held liable under Section 631 because as

                   13   a service provider, it fits within the statute’s well-established party exception. (Mot. at 6-9.)

                   14   Plaintiff acknowledges the party exception, yet attempts to avoid application of that exception here.

                   15   Her arguments are all meritless and her claim should be dismissed. See Graham, No. 20-6903 (N.D.

                   16   Cal. Apr. 8, 2021), ECF No. 51 at *7-9.

                   17            First, Plaintiff asserts that Clicktale’s argument that it is a party to the communication

                   18   “contradicts the pleadings.” (Opp. 3.) Not so. As Clicktale explained in its Motion, the FAC

                   19   concedes that Gap was a party to the underlying communication and that Clicktale simply acts as

                   20   a proxy for Gap. Specifically, Plaintiff only alleges that Gap embedded Clicktale’s software code

                   21   on its website (FAC ¶¶ 11, 29) to: 1) collect data Plaintiff voluntarily sent to Gap, and 2) transmit

                   22   that data to Clicktale’s servers so that Clicktale could “make[]the information available to [Gap]”

                   23   (id. ¶ 23). Tellingly, Plaintiff fails to allege that Clicktale uses any information for its own benefit

                   24   or purpose, or for anything other than website optimization. Plaintiff’s own pleading therefore

                   25   establishes that Clicktale’s sole purpose for accessing any of her information was to provide website

                   26   analytics as a service to Gap.

                   27            Notably, Plaintiff cites no case where a Court has deemed a service provider such as

                   28   1
                            See Marin K. Levy, Judging the Flood of Litigation, 80 U.Chi. L. Rev. 1007, 1008 n.1 (2013).
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                    1   Clicktale a separate party for purposes of Section 631. Instead, Plaintiff contends that Clicktale is
                    2   subject to Section 631 liability because its presence was allegedly unknown to Plaintiff. (Opp. at
                    3   5.) But even if true, these allegations are insufficient to give rise to liability. The construction of
                    4   Section 631 makes clear that this provision criminalizes wiretapping by a third party, whose
                    5   presence is not only unknown to the participants of a communication, but one who directly taps
                    6   into a line of communication independently of the other parties. See Rogers v. Ulrich, 52 Cal. App.
                    7   3d 894, 899 (1975) (holding that “‘Eavesdropping’ is the problem the Legislature meant to deal
                    8   with [in enacting Section 631]”). When CIPA was enacted, the legislature created an exception for
                    9   “telephone communication systems,” public utilities, and the use of any equipment furnished
                   10   pursuant to tariffs of a public utility—i.e., service provider equipment. 1988 Cal. Legis. Serv. ch.
                   11   111 § 4 at 9 (West). Clicktale is the modern day phone company that provides service provider
                   12   equipment to facilitate communications; it is not a third-party eavesdropper. Consistent with this
                   13   interpretation, this Court previously recognized that a SaaS provider like Clicktale was effectively
                   14   a party to communications between a website and its users and was therefore not subject to Section
                   15   631 liability. Graham, No. 20-6903 (N.D. Cal. Apr. 8, 2021), ECF No. 51.2
                   16          None of Plaintiff’s cited authorities compel a contrary result. To start, Plaintiff argues that
                   17   the Hytto court rejected the same argument Clicktale advances here. (Opp. 3 (citing S.D. v. Hytto
                   18   Ltd., 2019 WL 8333519, at *7–8 (N.D. Cal. May 15, 2009)).) But the defendant in Hytto did not
                   19   collect information on behalf of a party to a communication and could not be considered an
                   20   extension of a party. The “communication” at issue in Hytto was between two individuals: Person
                   21   A, after giving an electronic device to Person B, could control the device using an app. Id. The
                   22   court held that the communication was thus between Person A and Person B. Defendant Hytto,
                   23
                        2
                   24     In addition, Javier v. Assurance IQ, LLC, 2021 WL 940319, was decided on March 9, 2021 (after
                        the filing of Clicktale’s Motion) and presents an additional basis for dismissal of Plaintiff’s claims.
                   25   In Javier, the court dismissed wiretapping claims because the plaintiff later consented to a privacy
                        policy that disclosed the use of session replay technology. Like Javier, Plaintiff accepted Gap’s
                   26   Terms of Use and Privacy Policy when making a purchase at Oldnavy.com, as explained in the
                        prior motion to dismiss. (ECF No. 20.) Gap’s privacy policy permits third parties like Clicktale to
                   27   collect information related to Plaintiff’s use of Gap’s websites. See supra note 7. Given that Gap’s
                        Privacy Policy is not presently in the record (although it is discussed in the FAC), if the instant
                   28   Motion is denied, Clicktale intends to move for judgment on the pleadings based on the arguments
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                        presented in Javier.
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                    1   unlike Clicktale, was not deployed by one of these two persons as a means to relay information
                    2   being sent to that person regardless. Rather, Hytto captured information for its own purposes, such
                    3   as “the intensity level users select using the app, and the email address of users sending and
                    4   receiving commands.” Id. at *1. Hytto is unlike Clicktale because it was not a service provider, and
                    5   instead eavesdropped on the parties’ communications.
                    6          Plaintiff’s reliance on United States v. Eady, 648 F. App’x 188, 192 (3d Cir. 2016) and
                    7   Lopez v. Apple, Inc., --- F. Supp. 3d ----, 2021 WL 823122, at *8 (N.D. Cal. Feb. 10, 2021), is
                    8   similarly misplaced because neither defendant was a service provider acting on behalf of a party to
                    9   the communication. (See Opp. 3.) In Eady, the defendant was an independent party who deceived
                   10   employees into thinking they were calling each other but, in fact, the defendant initiated the calls
                   11   and eavesdropped to learn confidential information and retaliate against the callers. 648 F. App’x
                   12   at 189-90. Apple is similarly inapposite, as the plaintiffs there alleged that Apple was not acting on
                   13   behalf of a party, but claimed Apple used Siri to surreptitiously record users’ private conversations
                   14   without their knowledge or consent, and contrary to its express representations. (See Opp. 3 (citing
                   15   Apple, 2021 WL 823122, at *1)). None of these cases support imposition of liability here, let alone
                   16   establish that Clicktale’s argument “contradicts the pleadings.” (Opp. at 3.)
                   17          Second, Plaintiff misconstrues Powell, Membrila, and Rogers, each of which support
                   18   Clicktale’s argument that it is exempt from Section 631 liability as a party to any communication.
                   19   (Opp. at 5-6.) In Powell, the court assessed whether a party can be liable for allowing someone else
                   20   to listen in on a call—it cannot. Powell v. Union Pac. R.R. Co., 864 F. Supp. 2d 949, 954–56 (E.D.
                   21   Cal. 2012). Plaintiff further claims that Rogers and Membrila are distinguishable because the first
                   22   party “simply furnished a recording device.” (Opp. at 5; Membrila v. Receivables Performance
                   23   Mgmt., LLC, 2020 WL 1407274, at *2 (S.D. Cal. Apr. 6, 2010); Rogers, 52 Cal. App. 3d at 899.)
                   24   That is exactly the point. As this Court has observed, there is no difference between a tape recorder
                   25   that is turned on by a party to a communication and a SaaS tool implemented by that same party.
                   26   Graham, No. 20-6903 (N.D. Cal. Apr. 8, 2021), ECF No. 51 at *8-9.
                   27          Third, Plaintiff asserts that Clicktale’s argument that it is a party to the communication is
                   28   contrary to the “text of the statute and relevant case law” and “would eviscerate aiding and abetting
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                    1   liability under the same scenarios described in Ribas and In re Facebook III.” (Opp. 3-4.) This
                    2   argument is confusing, as Plaintiff does not plead that Clicktale aided and abetted a wiretap. (FAC
                    3   ¶¶ 50-60.) In any event, Plaintiff is wrong: it is her interpretation that is contrary to the statute and
                    4   would drastically expand criminal liability to every website that uses service providers to analyze
                    5   routine web traffic. Plaintiff claims that “Clicktale’s position would mean that companies could
                    6   hire undisclosed third parties to eavesdrop on communications with customers and evade liability
                    7   by claiming the undisclosed eavesdropper was a ‘party to the communication.’” (Opp. at 4.) In so
                    8   arguing, Plaintiff misconstrues Clicktale’s point—it cannot be that every time a party to a
                    9   communication deploys software to analyze its own web traffic, the software service provider is
                   10   eavesdropping or “listen[ing] secretly to a private conversation.” Rogers, 52 Cal. App. 3d at 899.
                   11           Facebook III, Revitch, and Ribas are not to the contrary and do not support liability here.
                   12   Clicktale supplied a software tool that allowed Gap to record website interactions. Facebook III
                   13   requires that courts look to the “technical context” to determine the parties to a communication. In
                   14   re Facebook, Inc. Internet Tracking Litig., 956 F.3d 589, 607–08 (9th Cir. 2020) (“Facebook III”).
                   15   The technical context of Facebook III, where the court held Facebook was not a party, is very
                   16   different than the technical context in this case. See id. at 596. There, Facebook allegedly embedded
                   17   plug-ins on third-party websites to track users, even while those users were signed out of Facebook.
                   18   Id. The alleged tracking was also not on behalf of a party to the communication, but for Facebook’s
                   19   own purposes, and was unrelated to supporting the function of the websites containing the plug-
                   20   ins. Id. Facebook then allegedly sold these browsing histories to advertisers. Id. The court also
                   21   observed that Facebook allegedly collected a trove of information used to create “cradle-to-grave”
                   22   profiles about plaintiffs, contrary to their expectations and Facebook’s stated policies. Id. at 599.
                   23   In contrast, Plaintiff here alleges that Clicktale’s software only operates while a user is on Gap’s
                   24   website and any information collected is used only by Gap. Plaintiff has not and could not contend
                   25   this collection was not disclosed to users. She also fails to allege that this information is ever sold
                   26   or disseminated or used for any targeting purposes. Plaintiff invites the Court to overlook the
                   27   obvious factual differences with Facebook III by arguing that dissemination of user data is “not a
                   28   required element of the claim.” (Opp. at 7.) Not so. Clicktale, unlike Facebook, stands in the shoes
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                    1   of the website operator and the Court should not ignore this technical context.
                    2            Likewise, the Court should not follow Revitch, as that Court also failed to grapple with
                    3   Clicktale’s core contention here: that a SaaS provider stands in the shoes of the website that deploys
                    4   its tools. Revitch is also inapposite, as the collection and use of data extended far beyond what is
                    5   alleged here. There, the defendant allegedly “scan[ned] [plaintiff’s] computer for files revealing his
                    6   identity” when he visited the Moosejaw website. Revitch v. New Moosejaw, LLC, 2019 WL
                    7   5485330, at *1 (N.D. Cal. Oct. 23, 2019). NaviStone then allegedly provided this data to mail
                    8   providers that sent mailers to plaintiff. See Def.’s Mot. to Dismiss at 2–3, Moosejaw (ECF No. 47)
                    9   (N.D. Cal. June 5, 2019). No such “scanning” or “targeting” is alleged here.
                   10            Meanwhile, in Ribas, an attorney advising plaintiff’s wife on a divorce settlement listened
                   11   on an extension telephone to a conversation between the plaintiff and his wife, without the
                   12   plaintiff’s knowledge or consent. Ribas v. Clark, 38 Cal. 3d 355, 358 (1985). The attorney later
                   13   used information he learned on the call to testify against plaintiff, utilizing what he had “learned’
                   14   from the call for his own purpose. These facts are easily distinguishable from Clicktale, a software
                   15   employed by a party to the communication. Clicktale was not a third party, who surreptitiously
                   16   “learn[ed] the contents . . . of a communication” in violation of Section 631(a). Contra id. at 360
                   17   (quoting Cal. Pen. Code § 631). Clicktale is like the tape recorder in Rogers, not the attorney in
                   18   Ribas.
                   19            Fourth, Plaintiff asserts that, even assuming Clicktale is a party to the communication, it
                   20   may still be held liable since “CIPA is a two-party consent statute,”—i.e., that it prohibits
                   21   wiretapping without consent of all parties to a communication. (Opp. at 5.) This argument is
                   22   contrary to well-established case law, the plain language of the statute, and Plaintiff’s own
                   23   concession that parties to communications cannot be liable under Section 631.3 (Id. at 3.) Warden
                   24   v. Kahn, 99 Cal. App. 3d 805, 811 (1979) (“[S]ection 631 . . . has been held to apply only to
                   25   eavesdropping by a third party and not to recording by a participant to a conversation.”); In re
                   26
                        3
                          Plaintiff cites Gruber v. Yelp Inc., 55 Cal. App. 5th 591, 607 (2020) to argue that Section 632 is
                   27   a two-party consent statute. (Opp. at 5.) That reliance is misplaced as the court was assessing
                        Section 632, not Section 631 liability. People v. Windham, 145 Cal. App. 4th 881, 889 (2006) is
                   28   also inapposite as it neither involves a third-party service provider nor assesses whether separate
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                        consent is required under Section 631 for service providers.
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                    1   Facebook III, 956 F.3d at 607. CIPA addresses “three distinct and mutually independent patterns
                    2   of conduct”: (1) “intentional wiretapping” of any telegraph or telephone wire, line, cable without
                    3   authorization, (2) “willfully attempting to learn the contents or meaning of a communication in
                    4   transit over a wire” without consent, and (3) “attempting to use or communicate information
                    5   obtained as a result of engaging in either of the two previous activities.” In re Google Assistant
                    6   Priv. Litig., 457 F. Supp. 3d 797, 825 (N.D. Cal. 2020) (internal quotation marks and citation
                    7   omitted). Only the second category of conduct requires “all party consent.” Although Plaintiff
                    8   generically alleges a violation of all three provisions of the statute, nowhere does she plead that
                    9   Clicktale ever “reads, or attempts to read, or [] learn the contents or meaning of any message”
                   10   transmitted between her and Gap. Cal. Pen. Code § 631(a). To the contrary, she concedes that
                   11   Clicktale’s only role is to provide Gap information as a SaaS provider. Accordingly, the all-party
                   12   consent rule does not apply. Likewise, Plaintiff’s attempt to distinguish Cohen on the basis that the
                   13   case involved application of a “one party consent statute” fails for the same reason.4
                   14           Finally, Plaintiff’s argument contradicts the canon of “statutory interpretation that
                   15   ambiguous penal statutes are construed in favor of defendants . . . [if] two reasonable interpretations
                   16   of the same provision stand in relative equipoise.” People v. Avery, 27 Cal. 4th 49, 58 (2002); see
                   17   Warden, 99 Cal. App. 3d at 814, 818 n.3 (observing that as a penal statute, ambiguity in Section
                   18   631 should be interpreted narrowly). This principle should be applied here, where Plaintiff alleges
                   19   no cognizable injury whatsoever, supra Section 1, yet seeks the severe penalty of $5,000 per alleged
                   20   CIPA violation. (FAC ¶ 60.)
                   21                   2.      The Information that Clicktale Allegedly Intercepted Is Not Content.
                   22           Plaintiff argues that Clicktale intercepted “content” by collecting “mouse clicks,”
                   23   “keystrokes” and “payment card information.” (Opp. at 7-9.) Yet nowhere does she dispute that a
                   24   significant portion of the information she alleges Clicktale unlawfully intercepted—e.g., “mouse
                   25   clicks . . .the date and time of the visit, the duration of the visit, Plaintiff’s IP address, her location
                   26
                        4
                          Plaintiff contradicts herself by claiming Cohen is distinguishable as a federal Wiretap Act case,
                   27   while relying on federal Wiretap Act cases like Luis. “The analysis for a violation of CIPA is the
                        same as that under the federal Wiretap Act.” NovelPoster v. Javitch Canfield Grp., 140 F. Supp. 3d
                   28   938, 954 (N.D. Cal. 2014). Indeed, Cohen is more factually analogous than Luis in that it involves
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                        a similar underlying technology.
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                    1   at the time of the visit, her browser type, and the operating system on her device” (FAC ¶¶ 2, 33)—
                    2   is unambiguously not content but “record information.” See In re Zynga Priv. Litig., 750 F.3d 1098,
                    3   1106 (9th Cir. 2014) (holding that “[c]ustomer record information” such as “name,” “address,” and
                    4   “subscriber number or identity” do not fall within the ambit of the federal wiretapping act).
                    5   Plaintiff’s Section 631 claims should in the least be dismissed as to any record information.
                    6                   3.      Plaintiff Fails to Plead Statutory and Constitutional Standing in
                                                Support of Her Section 635 Claims.
                    7

                    8           Plaintiff must plead some form of injury to support standing for her Section 635 claim. CPC

                    9   § 637.2(a); Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016). As Clicktale argued in its Motion,

                   10   Plaintiff has not pled that Clicktale’s manufacture, possession, or sale of an alleged wiretapping

                   11   device caused her any injury whatsoever. (Mot. at 9-11; FAC ¶¶ 63-64.) Her Opposition does not

                   12   contest this, and instead claims that the mere allegation of a statutory violation is sufficient to confer

                   13   standing. (Opp. 9-11.) This is wrong. Without linking her claim to an alleged injury, Plaintiff’s

                   14   Section 635 claim must be dismissed for lack of both constitutional and statutory standing.

                   15           First, as to statutory standing, Plaintiff claims she has a private right of action under Section

                   16   635 by selectively quoting a different provision of the statute, which states: “it is not a necessary

                   17   prerequisite to an action pursuant to this section that the plaintiff has suffered, or been threatened

                   18   with actual damages.” (Opp. at 10 (quoting Section 637.2).) But Plaintiff’s argument ignores that

                   19   the very first clause of the same statutory provision states the exact opposite—i.e., that only persons

                   20   “injured by a violation of this chapter may bring an action.” CPC § 637.2(a). Here, Plaintiff fails to

                   21   plead actual damages or non-economic injury. Plaintiff alleges that “Defendant recorded Plaintiff’s

                   22   electronic communications” (FAC ¶ 2); she had a “reasonable expectation that [her] PII and other

                   23   data would remain confidential” (id. ¶ 73); and that “session recording technologies such as

                   24   Clicktale’s can leave users vulnerable to data leaks and the harm resulting therefrom.” (Id. ¶ 25

                   25   (emphasis added).) Yet nowhere does she claim to have sustained any real or potential injury and

                   26   certainly not as a result of Gap using Clicktale. Plaintiff’s attempt to conflate “actual damages” and

                   27   “injury” cannot save her Section 635 claim, which must be dismissed for this reason alone.

                   28           Second, Plaintiff also does not plead injury-in-fact to satisfy constitutional standing. In
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                    1   rebuttal to Clicktale’s argument, Plaintiff does not identify any specific injury she has suffered, but
                    2   cites Revitch and Facebook to claim that a bare statutory violation of Section 635 is sufficient to
                    3   confer Article III standing. (Opp. at 9-11.) It is not.
                    4           Revitch is both distinguishable and wrongly decided. (Mot. at 10-11.) In contrast to Revitch,
                    5   Plaintiff here fails to allege any specific injury, as discussed above. Compare with supra pp. 5-6.
                    6   Further, the Revitch court wrongly concluded without any discussion or analysis that plaintiffs had
                    7   sufficiently pled injury by parroting the statutory requirements and “alleged injuries traceable to
                    8   Moosejaw’s possession and use of the device.” 2019 WL 5485330, at *3.
                    9           Plaintiff also incorrectly describes the holding in Facebook III, claiming that “the Ninth
                   10   Circuit has held that wiretapping claims—including under CIPA—are beyond the scope of
                   11   Spokeo.” (Opp. at 10.) Not so. In Facebook III, the Ninth Circuit merely observed that CIPA
                   12   Sections 631 and 632 “codif[ied] a substantive right to privacy, the violation of which gives rise to
                   13   a concrete injury sufficient to confer standing.” 956 F.3d at 598. Plaintiff presents no other case
                   14   besides Revitch that holds mere manufacture, possession, or sale of a wiretapping device meets this
                   15   concrete injury requirement for a Section 635 claim. With good reason: the “core provisions of
                   16   [CIPA] regard[] interception and use of private communications.” Campbell v. Facebook, Inc., 951
                   17   F.3d 1106, 1118 (9th Cir. 2020). That is the right to privacy the Facebook III court recognized.
                   18   There is no basis to find that mere manufacture, possession, or sale of an alleged eavesdropping
                   19   device used by website operators to improve website performance violates this right. Interpreting
                   20   the statute to permit such claims would be “constitutionally problematic.” Cohen, 2018 WL
                   21   3392877, at *5; see also In re Lenovo Adware Litig., 2016 WL 6277245, at *7 (N.D. Cal. Oct. 27,
                   22   2016) (finding that possession of a device alone does not justify Wiretap Act standing).
                   23           Finally, Plaintiff cites Luis v. Zang to support her 635 arguments. 833 F.3d 619 (6th Cir.
                   24   2016). There, the court denied a motion to dismiss where defendant allegedly violated the federal
                   25   Wiretap Act “by manufacturing, marketing, and selling a violative device.” Id. at 637. Luis is
                   26   distinguishable because the device at issue was specifically marketed as a means for a non-party to
                   27   illegally monitor another’s communications. Id. at 634. That marketing went “far beyond” any
                   28   legitimate purpose and defendant had knowledge that “it would be primarily used to illegally
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                    1   intercept communications.” Id. at 634, 637. Focusing both on the role defendant took and what the
                    2   device was marketed to do, the court determined that defendant “took a much more active role” in
                    3   causing the alleged wiretap. Id. at 637. Here, by contrast, Plaintiff alleges general details about
                    4   session replay technology and the fact that Clicktale “partnered” with Gap. (FAC ¶¶ 32-42.) There
                    5   is no allegation that this information went beyond a legitimate purpose—to the contrary, Plaintiff
                    6   previously conceded that Clicktale provided a tool to “improve [Gap’s] website design and
                    7   customer experience.” (ECF No. 1 ¶ 15.)5
                    8                  4.      Plaintiff Fails to Plead that Clicktale’s Technology Is a Device
                                               “Primarily or Exclusively Designed or Intended for Eavesdropping.”
                    9

                   10          Plaintiff claims she has plausibly alleged Clicktale’s code was “primarily or exclusively”

                   11   designed for eavesdropping, pointing to allegations that Clicktale’s code “is designed to gather PII,

                   12   including keystrokes, mouse clicks and other electronic communications” (Opp. at 11; FAC ¶ 65)

                   13   and that Clicktale’s software provides a record of Gap website users’ visits. (Opp. at 11-12; FAC ¶

                   14   23.) Plaintiff does not allege or explain how “keystrokes” and “mouse clicks” qualify as PII in this

                   15   context—certainly keystrokes and mouse clicks to search for and select a blouse on Oldnavy.com

                   16   are not PII. And regardless, these conclusory allegations about the type of information collected

                   17   are insufficient to allege that a cloud-based optimization tool used by many websites is intended

                   18   for eavesdropping, as required by the statute. See Cal. Pen. Stat. § 635.

                   19          Plaintiff once again relies almost exclusively on Revitch in her Opposition.6 But Revitch

                   20   merely concludes without any analysis that “the Court must assume the truth of Revitch’s allegation

                   21   that NaviStone’s code is a ‘device . . . primarily or exclusively designed or intended for

                   22   eavesdropping.’” Revitch, 2019 WL 5484330, at *3 (quoting § 635). That reasoning is contrary to

                   23   Iqbal, which holds that courts need not accept as true “threadbare recitals of a cause of action’s

                   24   elements, supported by mere conclusory statements.” Ashcroft v. Iqbal, 556 U.S. 662 (2009). The

                   25
                        5
                          Romero v. Securus Techs., Inc., 216 F. Supp. 3d 1078, 1088 (S.D. Cal. 2016) (Opp. 10-11) is
                   26   inapposite because it involved Section 636 eavesdropping claims, rather than Section 635 claims.
                        6
                   27     Plaintiff also cites In re Carrier IQ, Inc., 78 F. Supp. 3d 1051 (N.D. Cal. 2015) (Opp. at 12), but
                        that case is irrelevant. There, the court addressed whether transitory storage constitutes a real-time
                   28   transmission as required by CIPA, an argument that Clicktale does not make in its Motion.
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                    1   Revitch court should not have credited that plaintiff’s regurgitation of the statutory elements of
                    2   Section 635 and this Court should not duplicate its flawed holding. To do otherwise would be
                    3   contrary to the common-sense conclusion that cloud-based website optimization tools that collect
                    4   information at the behest of website operators are not wiretapping devices.
                    5          B.      Plaintiff Fails to Allege an Invasion of Privacy.
                    6          Plaintiff baselessly claims that it would be “reversible error” for this Court to find that she
                    7   has failed to plead a violation of her constitutional right to privacy. (Opp. at 13.) Plaintiff agrees
                    8   that Gap was entitled to receive any information she provided but posits that Clicktale violates
                    9   website visitors’ right to privacy when providing websites with routine website analytics. (Opp. at
                   10   13-17.) Notably, Plaintiff does not contend that any information Clicktale collected was reviewed,
                   11   used, or disseminated to anyone other than Gap for the purpose of operating Gap’s website. Nor
                   12   does she identify any actual or potential injury from Clicktale’s alleged collection of her routine
                   13   retail website browsing information. This is hardly a violation of her privacy rights “so serious in
                   14   nature, scope, and actual or potential impact as to constitute an egregious breach of the social
                   15   norms.” Hernandez v. Hillsides, Inc., 47 Cal. 4th 272, 287 (2009) (internal quotation marks and
                   16   citation omitted). Plaintiff does not come close to meeting any of the three required elements of
                   17   pleading a violation of the right to privacy under California law, and her claims therefore should
                   18   be dismissed. See, e.g., Moreno v. S.F. Bay Area Rapid Transit Dist., 2017 WL 6387764, at *8
                   19   (N.D. Cal. Dec. 14, 2017); In re Yahoo Mail Litig., 7 F. Supp. 3d 1016, 1041 (N.D. Cal. 2014).
                   20                  1.      Plaintiff Does Not Have a Legally Protected Privacy Interest.
                   21          Plaintiff fails to plead that she has the required autonomy or information privacy interest.
                   22          Failure to show informational privacy: Plaintiff fails to rebut Clicktale’s informational
                   23   privacy arguments. As explained in Clicktale’s Motion, Plaintiff does not allege a legally protected
                   24   privacy interest because: (1) even sensitive PII is not per-se subject to constitutional protection, and
                   25   Plaintiff identifies no sensitive PII that was collected, let alone PII linked to her; (2) informational
                   26   privacy claims are generally rejected where the claim arises from a plaintiff’s use of a defendant’s
                   27   services; and (3) Plaintiff does not plead that her information was disseminated or misused in any
                   28   fashion. (Mot. at 13-15.) Plaintiff offers no meaningful response to these arguments.
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                    1          To start, Plaintiff does not explain how the information allegedly obtained is
                    2   constitutionally protected, nor distinguishes the cases Clicktale cited that demonstrate the FAC’s
                    3   deficiency here. (Mot. at 13-15). Plaintiff instead makes the unsupported claim that the information
                    4   Clicktale collects can be linked back to individuals, relying solely on a blog post that speculates
                    5   unspecified “session replay products ‘can’t reasonably be expected to be kept anonymous.’” (Opp.
                    6   at 13.) That certainly does not meet the Iqbal’s plausibility requirement. Plaintiff then cites a series
                    7   of cases to support the general proposition that “personal computers fall[] well-within the ambit of
                    8   the first prong.” (Opp. at 13.) These cases are inapposite. In re Vizio, Inc., Consumer Priv. Litig.
                    9   involved allegations that defendants “collect[ed] an exceptionally vast array of information about
                   10   [plaintiffs’] digital identities” including a “MAC address” that are either “linked to an individual’s
                   11   name” directly or can be used with the other “vast array” of information also collected to identify
                   12   the individual. 238 F. Supp. 3d 1204, 1212, 1233 (C.D. Cal. 2017). Based on “the quantum and
                   13   nature of the information collected, the purported failure to respect consumers’ privacy choices,
                   14   and the divergence from the standard industry practice,” the court found plaintiffs’ invasion of
                   15   privacy allegations plausible. Id. at 1233. Meanwhile, in Riley, the Supreme Court unrelatedly
                   16   recognized protections for cell phone searches, including all sensitive data included therein. Riley
                   17   v. California, 573 U.S. 373, 374 (2014). Neither of these cases come close to the facts pled here.
                   18          In addition, Plaintiff rebuts only one of the many authorities Clicktale cites for this prong.
                   19   She claims In re Google Location Hist. Litig. is distinguishable because Clicktale is “an outside
                   20   third party” (Opp. at 14) but does not indicate why this distinction is meaningful. 428 F. Supp. 3d
                   21   185, 198 (N.D. Cal. 2019) (“Google”) (dismissing informational privacy claim where (as here)
                   22   defendant “only tracked and collected data during use of [defendant’s] services.”). It is not—as
                   23   discussed above, her own allegations show that Clicktale is merely Gap’s proxy.
                   24          Finally, as Clicktale explained, “[i]nformational privacy. . . . is the interest ‘in precluding
                   25   the dissemination or misuse of sensitive and confidential information. . . . to prevent unjustified
                   26   embarrassment or indignity.” Alch v. Sup. Ct., 165 Cal. App. 4th 1412, 1423 (2008). While Plaintiff
                   27   claims that the data being shared with Clicktale amounts to “dissemination,” nowhere does she
                   28   allege that any data was disseminated to an actual third party. Nor does she claim that anyone could
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                    1   even potentially misuse her information. (Mot. at 13.) To the contrary, Plaintiff only alleges the
                    2   information was shared with Clicktale as Gap’s service provider, to be used only for Gap’s
                    3   purposes. These allegations do not satisfy the “dissemination” or “misuse” requirement.
                    4          Failure to show autonomy privacy: Plaintiff cites no cases applying bodily autonomy in
                    5   any remotely analogous context—i.e., online shopping information input on a website and collected
                    6   by that website’s service provider. Autonomy privacy is akin to bodily autonomy (e.g., rights to
                    7   obtain an abortion or not provide urine for a drug test) and contrary to Plaintiff’s bald allegations,
                    8   courts have not found “cause to extend the bodily autonomy line of cases to data autonomy.”
                    9   Google, 428 F. Supp. 3d at 198. Plaintiff erroneously claims that the court in Google did not
                   10   consider whether to extend bodily autonomy to data autonomy, but the decision clearly and
                   11   carefully considered the issue before rejecting the argument, id. (discussing several state courts
                   12   precedents as to “whether the collection and storage of geolocation information interferes with
                   13   autonomy and/or information privacy”). Further, Plaintiff misconstrues the In re Google Assistant
                   14   Priv. Litig. court’s holding as protecting online shopping information. (Opp. at 14.) That court
                   15   found that recording conversations in plaintiffs’ homes and using them for targeted advertising
                   16   could be an invasion of privacy. 457 F. Supp. 3d at 831.
                   17                  2.      Plaintiff Does Not Have a Reasonable Expectation of Privacy.
                   18          Plaintiff pleads that she voluntarily transmitted information to Gap while shopping online
                   19   and concedes in her Opposition that she had no expectation that her communications would be kept
                   20   private from Gap. (Opp. at 15.) Nevertheless, she claims that Clicktale violated her subjective
                   21   expectation that the information she voluntarily disclosed to Gap would be kept confidential even
                   22   from Gap’s service providers. Plaintiff’s argument here rests on a single case, Brown v. Google,
                   23   LLC, which involved far different circumstances—Google allegedly collected user data through its
                   24   Chrome browser that was contrary to its alleged representations that those communications would
                   25   not be collected when a user browsed in “incognito” mode. --- F. Supp. 3d ----, 2021 WL 949372,
                   26   at *19-20 (N.D. Cal. Mar. 12, 2021). Like in Facebook III, and unlike here, Google allegedly
                   27   collected a cradle-to-grave profile of user browsing history, including visits to sensitive websites,
                   28   in violation of both user expectations and Google’s representations. Id.; Facebook III, 956 F.3d at
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                    1   599, 603. The comprehensive and all-encompassing nature of the data collected in those cases is
                    2   not remotely close to the allegations here, where a website collected data only as to its own website.
                    3   Plaintiff’s vague references to “demographics” that Clicktale can collect, (FAC ¶ 18) goes far
                    4   beyond what she claims Clicktale collected about her. (FAC ¶ 1.) This case is about routine online
                    5   clothing shopping information, only.
                    6          Besides the lack of apposite case law, Plaintiff’s claims fail because a reasonable
                    7   expectation of privacy must be based on “an objective entitlement founded on broadly based and
                    8   widely accepted community norms.” Hill v. Nat’l Collegiate Athletic Ass’n, 7 Cal. 4th 1, 37 (1994).
                    9   Plaintiff’s subjective and unreasonable suspicion that Gap would contradict its own privacy policy
                   10   and keep information from its service providers does not meet this objective standard.7
                   11                  3.      Clicktale’s Conduct Is Not Highly Offensive to a Reasonable Person.
                   12          Finally, Plaintiff cannot save her privacy claims by arguing that Clicktale’s conduct was
                   13   “highly offensive.” Plaintiff bases her position on claims that (1) there is “no bright line on
                   14   offensiveness” and this case presents factual issues that cannot be decided on a motion to dismiss;
                   15   and (2) the Court should ignore California Court of Appeals precedent that routine commercial
                   16   collection of information is not highly offensive. (Opp. at 16.) Neither argument is persuasive.
                   17          To start, Plaintiff incorrectly contends that “the question of whether Clicktale’s conduct was
                   18   sufficiently offensive raises a question of fact.” (Id.) Even assuming the facts pled here to be true,
                   19   courts routinely dismiss privacy claims based on far more egregious facts because privacy claims
                   20   must meet an extraordinarily high bar.” (Mot. 11, 15.).
                   21          The handful of courts that have denied dismissal of such claims did so based on readily
                   22   distinguishable facts—i.e., scanning users’ computers to deanonymize website visitors and
                   23   determine their identity, Revitch, 2019 WL 5485330, at *1, *3; using cell phone GPS data to
                   24   “continually . . . log . . . precisely where [plaintiffs] live, work, park, dine, pick up children from
                   25   school, worship, vote, and assemble” and then sell that data, Goodman v. HTC Am., Inc., 2012 WL
                   26   2412070, at *14 (W.D. Wash. June 26, 2012) (internal quotation marks omitted); or “collect[ing]
                   27   7
                          See https://www.gapinc.com/en-us/consumer-privacy-policy (last modified Sept. 22, 2020)
                   28   (“We may share your personal information with . . . third parties as needed to carry out our
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                        business. . . .”).
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                    1   an exceptionally vast array of information about [plaintiffs’] digital identities” contrary to
                    2   customers’ expectations. Vizio, 238 F. Supp. 3d at 1233. Nothing close to such facts are pled here.
                    3           Further, Plaintiff tries to distinguish Folgelstrom by arguing that the case did not involve
                    4   “‘surreptitious’ acquisition of personal information,” but it in fact involved collection of
                    5   information far more “intrusive” than what is pled here—names and home addresses for individuals
                    6   who had browsed the site anonymously. (Opp. at 16-17.) “Courts have frequently recognized that
                    7   individuals have a substantial interest in the privacy of their home.” Folgelstrom v. Lamps Plus,
                    8   Inc., 195 Cal. App. 4th 986, 990 (2011) (citation omitted). As here, the court in Fogelstrom held
                    9   there was no privacy claim because the plaintiffs failed to allege the defendants used that
                   10   information “for an offensive or improper purpose” rather than for “routine commercial behavior.”
                   11   Fogelstrom, 195 Cal. App. 4th at 992-93.
                   12           Plaintiff invites the Court to ignore a California appellate court in Folgelstrom and instead
                   13   apply Opperman. Opperman v. Path, Inc., 87 F. Supp. 3d 1018 (N.D. Cal. 2014); Opperman v.
                   14   Path, Inc., 205 F. Supp. 3d 1064, 1079 (N.D. Cal. 2016). Yet plaintiffs in both Opperman cases
                   15   alleged that defendants copied users’ entire cell phone address book without their consent, and that
                   16   this practice thereby left “[plaintiffs’] private information vulnerable to unauthorized download”
                   17   by third parties. Opperman, 87 F. Supp. 3d at 1032-33. No such facts are pled here; visiting a single
                   18   website and having those limited interactions collected for analysis to help the website improve
                   19   user functionality is hardly the same as uploading someone’s Rolodex for reasons unconnected to
                   20   the application’s functionality. Even if these cases were similar, Judge Tigar acknowledged
                   21   Opperman to be a novel interpretation of the case law, which generally finds commercial collection
                   22   of customer data is not highly offensive. See Opperman, 205 F. Supp. 3d at 1077-78 (N.D. Cal.
                   23   2016) (listing contrasting decisions).
                   24   III.    CONCLUSION.
                   25           For these reasons, this Court should grant the Motion and dismiss all claims with prejudice.
                   26   Dated: April 9, 2021                                  COOLEY LLLP
                   27                                                         By: /s/ Michael G. Rhodes
                                                                                      Michael G. Rhodes
                   28   248032170                                             Attorneys for Defendant Clicktale, Inc.
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